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                               UNITED STATES DISTRICT COURT
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 9                           NORTHERN DISTRICT OF CALIFORNIA
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11   JIE CHENG, et al.,                                No. 5:24-cv-04684 NC
12
                 Plaintiffs,                           ORDER DISMISSING ACTION
13                                                     FOR FAILURE TO PROSECUTE
                        v.
14
15   DEPARTMENT OF STATE, et al.,
                                                       Honorable Judge Nathanael M. Cousins
16                                                     United States Magistrate Judge
                  Defendants.
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19         UPON CONSIDERATION of Plaintiffs’ failure to appear at scheduled hearings
20   and to respond to Court orders, and the entire record herein, it is hereby
21         ORDERED that this action is DISMISSED WITHOUT PREJUDICE.
22   IT IS SO ORDERED.
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              February 19, 2025
     Dated: _________________________                             T
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                                                Honorable Judge             M. Cousins
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